81,7('67$7(6%$1.5837&<&2857
6287+(51',675,&72)1(:<25.
                                                                          
                                                                              
    ,QUH 
                                                                               &KDSWHU
    7+(520$1&$7+2/,&',2&(6(2)
    52&.9,//(&(175(1(:<25.                                              &DVH1R 0* 

                                                           'HEWRU        


    '(&/$5$7,212)-(66(-%$,5,168332572)7+(2)),&,$/&200,77((
    2)816(&85('&5(',7256¶5(3/<,168332572)027,21)25(175<2)
        $125'(538568$1772%$1.5837&<58/($87+25,=,1*
      (;$0,1$7,212):,71(66(6$1'7+(352'8&7,212)'2&80(176

              ,-HVVH-%DLUSXUVXDQWWR86&DQGXQGHUSHQDOW\RISHUMXU\GHFODUH

                          ,DPDSDUWQHUZLWKWKHODZILUP%XUQV%DLU//3VSHFLDOLQVXUDQFHFRXQVHOIRUWKH

2IILFLDO&RPPLWWHHRI8QVHFXUHG&UHGLWRUV ³WKH&RPPLWWHH´ DSSRLQWHGLQWKHFKDSWHUFDVHRI

7KH5RPDQ&DWKROLF'LRFHVHRI5RFNYLOOH&HQWUH1HZ<RUN WKH³'LRFHVH´ 

                          , VXEPLW WKLV 'HFODUDWLRQ LQ VXSSRUW RI The Official Committee of Unsecured

Creditors’ Reply In Support of Motion for Entry of an Order Pursuant to Bankruptcy Rule 2004

Authorizing Examination of Witnesses and the Production of Documents WKH³5HSO\´ 

                          ([FHSWDVRWKHUZLVHVWDWHGLQWKLV'HFODUDWLRQDOOIDFWVVHWIRUWKKHUHLQDUHEDVHGRQ

P\ SHUVRQDO H[SHULHQFH DQG NQRZOHGJH RU LQIRUPDWLRQ REWDLQHG IURP P\ UHYLHZ RI UHOHYDQW

GRFXPHQWVRUWKHUHYLHZRISURIHVVLRQDOVXQGHUP\GLUHFWVXSHUYLVLRQ

                          2Q -XQH   , SDUWLFLSDWHG LQ D YLUWXDO PHHW DQG FRQIHU FRQIHUHQFH ZLWK

FRXQVHO IRU $UURZRRG DQG FRXQVHO IRU WKH 'LRFHVH UHJDUGLQJ D SRWHQWLDO H[SDQVLRQ RI WKH

&RPPLWWHH¶V LQWHUYHQWLRQ ULJKWV LQ WKH LQVXUDQFH DGYHUVDU\ SURFHHGLQJ $PRQJ RWKHU WRSLFV ,



 7KH'HEWRULQWKLVFKDSWHUFDVHLV7KH5RPDQ&DWKROLF'LRFHVHRI5RFNYLOOH&HQWUH1HZ<RUNWKHODVWIRXU
GLJLWVRILWVIHGHUDOWD[LGHQWLILFDWLRQQXPEHUDUHDQGLWVPDLOLQJDGGUHVVLV32%R[5RFNYLOOH&HQWUH
1<


                                                                          
DVNHGLIWKHSDUWLHVZRXOGDJUHHIRUWKH&RPPLWWHHWRDWWHQGGHSRVLWLRQVLQWKHLQVXUDQFHDGYHUVDU\

SURFHHGLQJ1HLWKHU$UURZRRGQRUWKH'LRFHVHDJUHHGWRWKDWUHTXHVW

            $WWDFKHG DV ([KLELW  LV D WUXH DQG FRUUHFWFRS\ RI DQ HPDLO H[FKDQJHEHWZHHQ

%XUQV%DLU//3VSHFLDOLQVXUDQFHFRXQVHOIRUWKH&RPPLWWHHDQG&RXJKOLQ0LGOLJH *DUODQG

//3FRXQVHOIRU$UURZRRGGDWHG$XJXVW±$XJXVW

       ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFWWRWKHEHVWRIP\

NQRZOHGJHDQGEHOLHI

([HFXWHGRQ6HSWHPEHULQ0DGLVRQ:LVFRQVLQ



                                  %\    BBJesse J. BairBBBBBBBBBBBBB
                                       -HVVH-%DLU




                                                  
EXHIBIT 1
From:            Jesse Bair
To:              Adam Smith; Tim Burns
Cc:              Moore, Brett S.; Karen B. Dine
Subject:         RE: Rockville Center---Motion for 2004 Discover re: Arrowood
Date:            Friday, August 25, 2023 9:54:00 AM
Attachments:     image001.png


Adam—understood. Have a nice weekend.



Jesse Bair
BURNS | BAIR
10 E. Doty Street, Suite 600
Madison, WI 53703
608.286.2840
jbair@burnsbair.com

From: Adam Smith <asmith@cmg.law>
Sent: Friday, August 25, 2023 9:48 AM
To: Jesse Bair <jbair@burnsbair.com>; Tim Burns <tburns@burnsbair.com>
Cc: Moore, Brett S. <BSMoore@pbnlaw.com>; Karen B. Dine <kdine@pszjlaw.com>
Subject: RE: Rockville Center---Motion for 2004 Discover re: Arrowood

Jesse,

If the Committee wanted such a conversation, it would have been best to have it before filing its
motion. That being said, there is nothing in the Committee’s proposed subpoena to Arrowood that
Arrowood believes the Committee is entitled to or is subject to disclosure in this proceeding.
Accordingly, there is likely nothing to discuss unless the Committee is prepared to withdraw the
motion.

Regards,

Adam


From: Jesse Bair <jbair@burnsbair.com>
Sent: Thursday, August 24, 2023 10:24 PM
To: Adam Smith <asmith@cmg.law>; Tim Burns <tburns@burnsbair.com>
Cc: Moore, Brett S. <BSMoore@pbnlaw.com>; Karen B. Dine <kdine@pszjlaw.com>
Subject: RE: Rockville Center---Motion for 2004 Discover re: Arrowood

[CAUTION - EXTERNAL EMAIL] DO NOT reply, click links, or open attachments unless you have
verified the sender and know the content is safe.

Adam—

In an effort to conserve the parties’ and the court’s time and resources, I wanted to check if there is
any interest on your side to potentially resolving the 2004 request without contested motion
practice. For example, if there are 2 or 3 requests that your side finds objectionable, but the rest are
fine, the Committee may be willing to withdraw the 2 or 3 objectionable requests if Arrowood
agrees to produce materials responsive to the remaining requests.

If you’re interested in further discussions along these lines, please let us know.

Best,

Jesse



Jesse Bair
BURNS | BAIR
10 E. Doty Street, Suite 600
Madison, WI 53703
608.286.2840
jbair@burnsbair.com
